            Case 3:15-cv-00915-WWE Document 1 Filed 06/15/15 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


MATTHEW D. WILLIAMS                                                       JURY TRIAL DEMANDED

       v.
                                                                  CASE NO. 3:15 CV
HUNT LEIBERT JACOBSON, PC.

                                            COMPLAINT

       1.       Plaintiff brings this action to obtain relief for defendant’s violations of the federal Fair

Debt Collection Practices Act, 15 U.S.C. §1692 et seq. ("FDCPA”) and other applicable law.

       2.       This Court has jurisdiction. 15 U.S.C. §1692k(d).

       3.       Venue is proper because plaintiff is a citizen of Connecticut.

       4.       Plaintiff is a natural person.

       5.       On December 29, 2014, defendant sent plaintiff a letter identifying its client as GMAT,

with a specific Loan No. beginning with 7 and ending with 2, stating a monetary balance due, and

warning that “Because of interest, late charges, and other charges that may vary from day to day, the

amount may be greater from day to day.”

       6.       The letter concerned an account opened and used for personal, family, or household

purposes.

       7.       Plaintiff’s last payment on the account was in 2009.

       8.       On January 23, 2015, plaintiff notified defendant of his representation by attorney,

and through his attorney Michael Sweeney, disputed the account including the identification of

GMAT as the creditor.

       9.       Defendant has not to date responded to the dispute notice.

       10.      On May 12, 2015, defendant sent a letter directly to plaintiff, identifying the creditor
           Case 3:15-cv-00915-WWE Document 1 Filed 06/15/15 Page 2 of 2




as Rushmore Loan Services, with the same specific Loan No. beginning with 7 and ending with 2,

stating that the account was delinquent or in default.

         11.   Defendant regularly collects, or attempts to collect, defaulted home mortgage

debts.

         12.   Defendant regularly engages attorneys to bring foreclosure actions seeking

deficiencies against homeowners who have defaulted on their mortgages.

         13.    Defendant violated the FDCPA, including 15 U.S.C. §§ 1692c, 1692e, 1692e(2)(A),

1692e(5), 1692e(8), 1692e(10), 1692e(11), 1692f, or 1692g.

         WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:

               (a)     That judgment be entered against Defendant for statutory damages pursuant

to 15 U.S.C. § 1692k(a)(2)(A) as well as actual damages for annoyance, anxiety, and inconvenience.

               (b)     That the Court award costs and reasonable attorneys’ fees; and

               (c)     That the Court grant such other and further relief as may be just and proper.

                                              Respectfully submitted,

                                                         /s/ Joanne S. Faulkner_
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